                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 CALEB BASSETT, et al.,                                )
                                                       )
        Plaintiffs,                                    )
                                                       )
 v.                                                    )       No. 3:21-cv-152
                                                       )       Judge Katherine A. Crytzer
 HERBERT SLATERY, et al.,                              )       Magistrate Judge Debra C. Poplin
                                                       )
        Defendants.                                    )


      DEFENDANTS’ UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO FILE
              RESPONSE TO PLAINTIFFS’ AMENDED COMPLAINT


        Defendants Jonathan Skrmetti,1 Tennessee Attorney General and Reporter, and Jeff Long,

 Commissioner of the Tennessee Department of Safety and Homeland Security, hereby request,

 under Fed. R. Civ. P. 6(b), an extension of time in which to respond to Plaintiffs’ amended

 complaint. (D.E. 30.)

        After the United States Supreme Court decision in New York State Rifle & Pistol Ass’n,

 Inc. v. Bruen, 142 S. Ct. 2111 (2022), the Court held a Rule 16 Scheduling Conference on July 20,

 2022. (D.E. 27.) At the status conference, the Court granted the parties’ joint oral motion for a

 limited, forty-five-day (45-day) stay of this action to allow Plaintiffs to file an amended complaint.

 (D.E. 28.)    Plaintiffs filed an amended complaint on September 6, 2022, and the Court

 subsequently denied as moot Defendants’ motion to dismiss the original complaint. (D.E. 30, 31.)




 1
  Since Plaintiffs’ filing of this action, Jonathan Skrmetti succeeded Herbert Slatery as the
 Attorney General and Reporter. Defendants respectfully submit that Jonathan Skrmetti should
 be substituted as a defendant in lieu of Herbert Slatery pursuant to Fed. R. Civ. P. 25(d).


Case 3:21-cv-00152-KAC-DCP Document 32 Filed 09/16/22 Page 1 of 3 PageID #: 246
 Defendants’ response to Plaintiffs’ amended complaint is currently due on September 20, 2022.

 See Fed. R. Civ. Pro. 15(a)(3).

        Defendants respectfully request that this Court grant a thirty-seven-day extension of time

 for Defendants to file their response to Plaintiffs’ amended complaint, up to and including October

 27, 2022. Good cause exists to grant this request because Defendants have worked diligently to

 draft their response; however, the undersigned was out of the office for personal reasons for a short

 time, and is working to meet other dispositive deadlines in federal cases upon his return.

        The parties have conferred, and Plaintiffs do not oppose this request. The parties agree

 that an extension will not prejudice either party because no scheduling order is currently in force

 in the case, and the extension will not affect any other deadlines.

        For these reasons, and good cause shown, Defendants respectfully request that this Court

 enter an order setting a deadline of October 27, 2022 for Defendants to submit a response to

 Plaintiffs’ Amended Complaint.


                                                       Respectfully Submitted,

                                                       JONATHAN SKRMETTI
                                                       Attorney General and Reporter


                                                       s/ Dean S. Atyia
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                                     2
Case 3:21-cv-00152-KAC-DCP Document 32 Filed 09/16/22 Page 2 of 3 PageID #: 247
                                                     Counsel for Defendants


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was filed electronically and

 served through the electronic filing system on this the 16th day of September 2022, upon the

 following:


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                                     3
Case 3:21-cv-00152-KAC-DCP Document 32 Filed 09/16/22 Page 3 of 3 PageID #: 248
